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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                            Case No. 3:23-cr-70/MCR

TESS A. BAYNE-BALENTINE,

     Defendant.
_____________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, TESS A. BAYNE-BALENTINE, to Count Two of the indictment is

hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

      DONE and ORDERED this 19th day of December 2023.



                              M. Casey Rodgers
                              M. CASEY RODGERS
                              UNITED STATES DISTRICT JUDGE
